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                                    UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF MICHIGAN
                                         SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                             Plaintiff,                                   No. 1:20-CR-183

                    vs.                                                   Hon. Robert J. Jonker
                                                                          Chief United States District Judge
DANIEL JOSEPH HARRIS,
BARRY GORDON CROFT, JR.,
ADAM DEAN FOX, and
KALEB JAMES FRANKS,

                  Defendants.
_________________________________/

                   GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION
                      TO IDENTIFY CO-CONSPIRATOR STATEMENTS

           The government has disclosed co-conspirator statements it may offer against the

defendants. Fed. R. Crim. P. 12(b)(4)(B) requires the government to disclose whether it intends

to use a particular piece of evidence only after the defendant has identified it with specificity.

The rule is not a tactical mechanism to identify all the particular evidence the government will

offer at trial, and not a strategic device to obtain exclusion of evidence the government did not

designate.

                                             LAW AND ANALYSIS

           Harris 1 asks the government to identify with specificity which co-conspirator statements

it intends to introduce in its case-in-chief. (R.239: Def.’s Br., PageID.1301.) He cites Fed. R.

Evid. 801(d)(2)(E) and related case law for the unremarkable proposition that co-conspirator

statements are generally admissible. (Id., at 1301-04.) None of the cited authority supports his

notion that the government is required to pinpoint the co-conspirator statements it intends to use.


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    Harris’ motion is joined by defendants Croft, Fox and Franks, who did not submit separate briefs.
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Fed. R. Evid. 801(d)(2)(E) does not compel the government to identify co-conspirator statements

any more than Rules 608 and 609 (which govern impeachment) compel anyone to disclose a

witness list.

           The Federal Rules of Criminal Procedure do not actually even require the government to

produce co-conspirator statements at all. 2 Fed. R. Crim. P. 16(a); United States v. Cheatham, 500

F. Supp. 2d 528, 538 (W.D. Pa. 2007) (Rule 16 does not provide for the Government’s

production of a co-conspirator’s statements to a defendant because such statements are not the

defendant’s own statement under Rule 16(a)(1)(A) despite the fact that F.R.E. 801(d)(2)(E)

would impute such non-hearsay statements to a defendant.).

           Although Harris does not identify the rule, he is essentially moving under Fed. R. Crim.

P. 12(b)(4) to compel the government to identify potentially suppressible evidence. That rule

provides: “At the arraignment or as soon afterward as practicable, the defendant may, in order to

have an opportunity to move to suppress evidence under Rule 12(b)(3)(C), request notice of the

government’s intent to use (in its evidence-in-chief at trial) any evidence that the defendant may

be entitled to discover under Rule 16.” The purpose of the Rule is to “streamline[] the

suppression process [so] the defendant can avoid moving to suppress evidence the Government

does not intend to use.” United States v. Smith, 277 F. App’x 187, 191 (3d Cir. 2008).

           The burden of identifying the potentially suppressive evidence rests with the defendant,

not the government. “What Rule 12(b)(4)(B) does require is that the government respond to a

defendant’s request for notice whether the government intends to offer specific evidence that the

request identifies. . . In order to trigger a notice obligation, the defendant’s request must identify

potentially suppressive evidence with specificity.” United States v. Ferguson, No. 2:16-CR-



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    The government has nonetheless disclosed co-conspirator statements. Harris does not allege otherwise.

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00103-JRG, 2018 U.S. Dist. LEXIS 14316, *5-6 (E.D. Tenn. Jan. 30, 2018), citing United States

v. Ishak, 277 F.R.D. 156, 159 (E.D. Va. 2011) (denying defense motion to compel designation of

specific evidence, calls, and transcripts government intended to offer at trial). “Stated differently,

‘any request under Rule 12(b)(4)(B) must identify evidence with sufficient specificity that the

government can readily ascertain the particular evidence referenced. Only then can the

government effectively provide notice whether it intends to offer that particular evidence in its

case-in-chief.” Id., citing Ishak, supra at 160.

       “Rule 12(b)(4)(B) is not designed or intended to be used to obtain more specific

discovery than that provided by Rule 16. It is also not designed to aid the defendant in

ascertaining the Government’s trial strategy.” United States v. Bunch, No. 2009 U.S. Dist.

LEXIS 114325, *3 (E.D. Tenn. 2009), citing United States v. Cruz-Paulino, 61 F.3d 986, 994

(1st Cir. 1995). See also, United States v. Ferguson, 2018 U.S. Dist. LEXIS 14316, *5 (E.D.

Tenn. 2018) (The rule “is not a mechanism to extract an exhibit or witness list from the

government or require the government to identify all the particular documents it will offer at

trial. The Rule is also not a strategic device to obtain exclusion of evidence the Government did

not designate.”); United States v. El-Silimy, 2005 U.S. Dist. LEXIS 6147, *10-11 (D. Me. 2005)

(motion to compel notice of evidence government intends to use at trial denied).

       Harris’s argument that such pinpointing is necessary because the court must make a

preliminary finding on the existence of the conspiracy is a red herring. (R.239: Def’s Br.,

PageID.1302, citing United States v. Enright, 579 F.2d 980 (6th Cir. 1978)). The court makes

preliminary findings on a host of issues at trial; for example, whether the risk of unfair prejudice

outweighs the probative value of impeachment evidence. See, Fed. R. Evid. 609, 403. Harris’s

case is not like United States v. Bourjaily, 482 U.S. 171 (1987), where the co-conspirator



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statements were themselves the only evidence of the conspiracy. In this case, both the existence

of the conspiracy and Harris’s membership in it will be established by substantial independent

evidence. (See, R.172: S. Ind., PageID.963-968.) A preview of his co-conspirators’ Rule

801(d)(2)(E) statements would therefore do little to assist the court in making an Enright

determination.

        Harris cannot use what is essentially a Rule 12(b)(4)(B) motion to compel a preview of

the government’s case, or to tactically set up the exclusion of “undesignated” statements. If he

wants a pretrial ruling on the admissibility of a particular co-conspirator statement, he must

identify it with specificity.

        WHEREFORE, the government requests the court deny the defendants’ motion to

identify co-conspirator statements.

                                              Respectfully submitted,

                                              ANDREW BYERLY BIRGE
                                              United States Attorney

Dated: August 26, 2021                          /s/ Nils R. Kessler
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